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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,


Plaintiff,

v.

JAVIER MENDEZ,


Defendant.                                         No. 06-CR-300167-DRH

                                     ORDER


HERNDON, Chief Judge:

             Pending before the Court is the United States of America’s motion to

extend time to respond to Defendant’s objection to Presentence Investigation Report

(Doc. 238). Said motion is GRANTED. The Court ALLOWS the Government up to

and including November 21, 2007 to respond.

             IT IS SO ORDERED.

             Signed this 16th day of November, 2007.


                                                   /s/    DavidRHerndon
                                                   Chief Judge
                                                   United States District Court
